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              IN THE UNITED STATES DISTRICT COURT NORTHERN DISTRICT OF
                           ILLINOIS, EASTERN DIVISION



KELLY HESPE,                                         )
                                                     )   Case No. 13-cv-7998
                       Plaintiff,                    )
                                                     )
                       vs.                           )
                                                     )
THE CITY OF CHICAGO, a                               )
Municipal Corporation, Chicago Police                )    JURY TRIAL DEMANDED
Sergeant GERALD BREIMON, and Lieutenant              )
SARAH MCDERMOTT,                                     )
                                                     )
                       Defendants.                   )
                                                     )

                                            COMPLAINT

       Plaintiff, KELLY HESPE, through her attorney, Daniel Q. Herbert, makes the following

complaint against the Defendants, CITY OF CHICAGO (“City”), and the following members of

the Chicago Police Department: Sergeant GERALD BREIMON (“Breimon”) and Lieutenant

SARAH MCDERMOTT (“McDermott”), for violations of Plaintiff’s protected rights and states

as follows:

                                        INTRODUCTION

1.     This action is brought by Plaintiff Kelly Hespe (“Plaintiff”), an employee of the City of

Chicago’s Police Department (“CPD”), pursuant to Title VII of the Civil Rights Act of 1964, 42

U.S.C. § 2000(e) et seq., and pursuant to 42 U.S.C. § 1983 to redress the deprivation under color

of law of Plaintiff's rights as secured by the United States Constitution, and under state law for

violation of the Gender Violence Act, 740 ILCS 82/1, the Illinois Civil Rights Act of 2003, 740

ILCS 23/1, et. Seq., negligent retention, negligent supervision and intentional infliction of




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emotional distress. Plaintiff, Hespe seeks declaratory and injunctive relief as well as damages

for her injuries.

2.         Defendants’ actions reflect an ongoing practice of discrimination and retaliation

constituting a continuing violation.

                                    JURISDICTION AND VENUE

3.         This court has jurisdiction of this case pursuant to 28 U.S.C. §§ 1331, 1343, and

supplemental jurisdiction over state law claims pursuant to 28 U.S.C. § 1367.

4.         Venue is proper under 42 U.S.C. Sec. 2000(e)5(f)(3) and 28 U.S.C. § 1391(a). All parties

reside in this judicial district and the events pertaining to the claims made in this complaint

occurred in this district.

5.         All conditions precedent to filing suit have been met. Plaintiff filed a complaint with the

Illinois Department of Human Rights (“IDHR”) and the United States Equal Employment

Opportunity Commission (“EEOC”), as required by Section 2000e-16 and the IDHR on April 2,

2013.

6.         The EEOC issued a “right to sue letter” to Plaintiff on August 27, 2013. (Exhibit A).

                                               PARTIES

7.         Plaintiff is a female employee of the Defendant City, holding the position of police

officer.

8.         The City is an employer as defined by Title VII of the Civil Rights Act of 1964 and the

Illinois Human Rights Act, and was at all times relevant to this complaint, Plaintiff’s employer.

9.         Defendant Breimon is a police sergeant and member of the CPD. At all times relevant to

the complaint Breimon was serving in a supervisory capacity over Plaintiff for the City.




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10.     Defendant Lieutenant Sarah McDermott is a member of the CPD. At all times relevant to

the complaint McDermott was acting as a supervisor of Plaintiff for the City.

11.     The City conducted its police functions under color of state law, through its officers and

employees.

12.     The City employed and conferred authority on Defendants, Breimon and McDermott to

act in a supervisory capacity to its officers, including Plaintiff and at all times relevant to the

complaint the Defendants were acting under color of state law.

13.     The City is responsible for the acts of Defendants Breimon and McDermott, who acted

within the scope of their employment and pursuant to a policy, custom, and/or pattern of sex

discrimination, retaliation, and violation of individual rights of equal protection under the

Fourteenth Amendment to the Constitution of the United States.

                                               FACTS

14.     Plaintiff has been a Chicago police officer with the City since March of 2001 and at all

times relevant to the complaint has been assigned to the 14th District.

15.     Throughout her career, Plaintiff received favorable employment reviews including letters

of recommendation to attend a Masters Program in Public Safety Administration which was

scheduled to begin on March 13, 2013.

16.     While working as a Chicago Police Sergeant, Breimon was charged with aggravated

criminal sexual abuse, unlawful restraint and official misconduct in connection with the fondling

of a 25 year old female motorist in 2003.

17.     Defendant Breimon was subsequently stripped of his police powers and placed in CPD’s

Alternate Response Section or “call back” pending his criminal investigation.




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18.     Upon information and belief the criminal charges against Breimon were dropped when

the female victim failed to testify in criminal proceedings after the victim received a settlement

from the City and Breimon in her civil lawsuit, Docket 1:05-cv-01527 filed in the Northern

District of Illinois.   (Exhibit B)

19.     After having been relieved of his police powers for approximately five years, Breimon

subsequently retained his position as a Sergeant of police, had his police powers restored, and

was assigned as a supervising sergeant to the 14th District in 2008.

20.     As a Sergeant in the 14th District, Breimon worked in a direct supervisory capacity over

Plaintiff on the first watch also called the midnight watch.

21.     Shortly after his transfer to the 14th District, Sergeant Breimon began using his authority

as Plaintiff’s supervisor to engage in an escalating course of sexually harassing and abusive

conduct directed against Plaintiff that created an ongoing pattern of emotional, physical and

sexual abuse of Plaintiff by Breimon.

22.     Breimon initially began by making sexually suggestive comments to Plaintiff,

characterizing himself as Tarzan and Plaintiff as Jane.

23.     Plaintiff then complained to a fellow female officer, Gloria Gomez that Breimon’s

comments were unwelcome and made her uncomfortable.

24.     Upon information and belief, Officer Gomez confronted Breimon about his conduct and

informed Breimon to stop harassing Plaintiff.

25.     Plaintiff subsequently learned through conversations with Breimon and through her own

experience that she would have to run a gauntlet of sexual harassment in the 14th district in order

to ensure male officers would “have her back” on calls and not refer to her as a “rat”.




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26.     Plaintiff discovered and was informed that she would be ostracized and retaliated against

and that other officers would not be willing to work with her, if she complained about their

offensive conduct.

27.     While on duty in his supervisory capacity, Breimon singled out Plaintiff when she was

assigned to work alone in a squad car and he repeatedly demanded Plaintiff meet him in parking

lots to talk.

28.     If Plaintiff was working with an assigned partner, Breimon would routinely park behind

Plaintiff’s squad car and demand that she leave her partner in their squad car, exit her squad car,

and get into his vehicle to talk.

29.     During one of these talks Plaintiff informed Sergeant Breimon that a male officer had

been engaging in sexually harassing and offensive conduct towards her, which included the

officer masturbating in his squad car parked next to Plaintiff’s car.

30.     Breimon told Plaintiff to “deal with it herself” and Breimon subsequently did not report

the incident of sexual harassment.

31.     While on duty in his supervisory capacity, Breimon would instruct Plaintiff to “ride out”

or extend the length of recently completed job assignments so Breimon could have lunch with

Plaintiff.

32.     On multiple occasions when Plaintiff refused to comply with Breimon’s demands to ride

out jobs and meet him for lunch, Breimon would pull over Plaintiff’s squad car and then accuse

and verbally reprimand her for not promptly clearing from completed job assignments.

33.     Breimon then demanded that Plaintiff accept him as one of her Facebook friends.

Plaintiff acceded to his demand and Breimon then used Facebook to make lewd, sexual and

vulgar suggestions towards Plaintiff.


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34.     Plaintiff informed Breimon that his comments and suggestions were lewd and offensive

yet Breimon continued to make lewd, sexual, and vulgar suggestions to Plaintiff both while on

duty in his supervisory capacity and while off duty through Facebook.

35.     Breimon then told Plaintiff it would be useless for her to complain or tell anyone in the

police department about his conduct and actions because no one would believe Plaintiff over

him.

36.     Breimon told Plaintiff that his mother, a former Assistant Deputy Superintendent still had

extensive connections with high ranking officials in the CPD and that she would “get rid” of

Plaintiff if Breimon desired her to, or if Plaintiff ever complained about Breimon’s conduct.

37.     In November of 2009, Plaintiff was working alone when Breimon ordered Plaintiff to

pull into a wooded area of Humboldt Park and sit in his squad car to talk.

38.     Plaintiff complied with the order and got into Breimon’s car where Breimon took out his

penis and compelled Plaintiff to perform oral sex on him.

39.     On succeeding multiple occasions, all while on duty in his supervisory capacity, Breimon

demanded sexual activity from Plaintiff in various locations, including in the sergeant’s office of

the 14th district, in the storage room of the 14th district, and in Breimon’s squad car parked in

various secluded locations in Humboldt Park.

40.     In December of 2010, Breimon demanded that Plaintiff carpool to work with him so that

he could have sex with her in the 14th district parking lot before and after work.

41.     The forced carpooling continued from 2010 through early November of 2012 during

which Breimon continued to demand sexual activity of Plaintiff as her supervisor.




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42.    Breimon continued to threaten Plaintiff about not reporting his conduct and informed

Plaintiff that he would continue to demand sexual acts from her while at work and in public

places because it “got him off”.

43.    Breimon told Plaintiff to comply with his demands for sexual activity and if she did so

that he would treat her “normal” at work and that her “life would be smooth.”

44.    At various times from 2010 until November of 2012, Breimon approached Plaintiff while

at work and demanded to know if she was wearing undergarments. Breimon then reached into

her uniform shirt or uniform pants and touched her chest and buttocks. Breimon then told

Plaintiff he was “checking.”

45.    Plaintiff suffered adversely as she was singled out by Breimon for special scrutiny and

monitoring. On one occasion Breimon asked a commanding Lieutenant if he could work

alongside Plaintiff but his request was denied. On numerous occasions, Breimon would have

Plaintiff assigned to a parking lot detail at the 14th district so he could more easily monitor her

actions at the stationary post and because Plaintiff would not be working with a partner.

Breimon routinely requested to have Plaintiff assigned to his supervisory logs even when

Plaintiff should have been assigned to other Sergeant’s for supervision. On various occasions,

Breimon would request over the radio that Plaintiff be assigned a seat belt mission and Breimon

would then demand Plaintiff meet him at a lunch location instead of conducting a seat belt

mission.

46.    On numerous occasions when Plaintiff would refuse Breimon’s demands, Breimon would

retaliate against Plaintiff by pulling over her squad car and berating her for not clearing from a

job assignment promptly. This occurred numerous times in front of Plaintiff’s assigned work

partners, including P.O. Eric Ricken, P.O. Melissa Milan, and P.O. Gloria Gomez.


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47.     While on duty in his supervisory capacity, Breimon mocked Plaintiff in front of other

police officers stating he “hated her guts” and on numerous occasions when Breimon observed

Plaintiff in conversation with other police officers, Breimon walked past Plaintiff and said in a

lowered voice “I fucking hate you.”

48.     Breimon told Plaintiff that he had conducted a search and had located the woman who

had accused him of fondling her and he now knew where the woman lived.

49.     Breimon then told Plaintiff that he had searched for her family members and he now

knew where Plaintiff’s family members lived as well.

50.     In 2012, while off-duty, Breimon began to monitor Hespe’s work activity via a radio

scanner.

51.     At various times, Breimon called Plaintiff to let her know that he was monitoring her

activity even though he was off duty. He would become angry and tell Plaintiff that her radio

voice made her “sound happy” at work without him or it sounded like Plaintiff was “having a

party” at work without him.

52.     On multiple occasions when Plaintiff refused Breimon’s demands for sexual activity

Breimon threatened suicide, stating that he was going to sit on the train tracks, take sleeping

pills, or “eat his gun.”

53.     At various times Breimon told Plaintiff he always kept a gun in his glove box in case he

ever “needed it.”

54.     On or about October 24, 2011, while on duty in his supervisory capacity, Breimon

demanded that Plaintiff sit in his squad car. Breimon threatened Plaintiff while pounding his

fists on the steering wheel. He then punched the vehicle’s personal data terminal (“PDT”)

causing it to crack.


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55.      Breimon subsequently reported the damage on an official police report where Breimon

stated the cause of the damage to the PDT was unknown. (See Exhibit C).

56.      On or about March 28, 2012, Plaintiff was en route to a job assignment with her assigned

partner, Police Officer (”P.O.”) Gloria Gomez, when Breimon began calling and texting Hespe

while Breimon was driving in his department assigned vehicle. Breimon screamed and yelled at

Plaintiff on the phone and then crashed into a parked car. On the phone, Breimon told Plaintiff

that he had just crashed into a parked car and it was her fault.

57.      Breimon subsequently reported the accident on an official police report which stated the

crash was caused by faulty acceleration.    (See Exhibit D).

58.      One day in the spring of 2012, while Breimon was on duty he continually texted and

called Plaintiff when she was working with P.O. John Reppas. Breimon then came to Illinois

Masonic Hospital where Plaintiff was on a job assignment and demanded that Plaintiff sit in the

car with him. Breimon became enraged at Plaintiff and began to scream at Plaintiff telling her to

“get the fuck out” of his car. Plaintiff got out of the car while Breimon called her a “fucking

whore” and accelerated the car with her hand still on the door handle. Plaintiff returned to her

partner at the hospital visibly shaken and distressed.

59.      On June 2, 2012, while on duty, Breimon yanked opened the door to Plaintiff’s squad car

and attempted to take her cell phone, demanding that Plaintiff show him the contents of her

phone.

60.      On June 25, 2012, while on duty, Breimon used his work computer to track Plaintiff’s

location and continuously texted Plaintiff as to her location and her doings.

61.      On July 19, 2012, Breimon told Plaintiff that the other guys at work would “eye fuck” her

and that he “wanted to choke the life out of all of them” if he could do it and not get in trouble.


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62.      On July 21, 2012, while on duty, Breimon continually texted Plaintiff and demanded that

Plaintiff meet him after work. Breimon threatened to show up at Plaintiff’s home if she did not

agree to meet him.

63.      After work, Plaintiff met Breimon in the parking lot of a hospital near Plaintiff’s home

where Breimon yelled at Plaintiff from his truck and blocked Plaintiff’s car from leaving.

Breimon then exited his truck, opened Plaintiff’s door, grabbed her purse, and then hurled it at

Plaintiff. Plaintiff suffered visible bruising as a result of being hit by the intentionally thrown

purse.

64.      Plaintiff continued to tell Breimon to leave her and her children alone or she would report

his behavior.

65.      In retaliation for Plaintiff telling Breimon to leave her alone, Breimon threatened to tell

the 14th district officers negative things about Plaintiff and threatened to make her life miserable

at work.

66.      On August 2, 2012, Breimon continued to harass Plaintiff at work with texts where he

told Plaintiff how much he hated her and he intentionally parked his squad car outside of the

police station where he could observe Plaintiff within.

67.      On September 17, 2012, Breimon told Plaintiff that he had informed Lt. Lameka that he

was going to take Plaintiff as his date to a co-worker’s wedding. Breimon told Plaintiff to

request the night off because Lt. Lameka would assure that Plaintiff’s request was granted.

68.      Plaintiff put in her request for time off and Lt. Lameka told Plaintiff that she “better be

there” at the wedding.




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69.     On September 19, 2012, Plaintiff was on duty in the 14th district taking a mandatory e-

learning test. Breimon confronted Plaintiff and demanded she kiss him in public. Plaintiff

refused and Breimon became visibly angry.

70.     On September 20, 2012, Breimon demanded that Plaintiff give him the key code entry to

her home so he could come by and enter her home. Plaintiff refused.

71.     On November 18, 2012, Plaintiff was off duty on her vacation when Breimon texted

Plaintiff and told her that Lt. Lameka was trying to reach Plaintiff. Breimon told Plaintiff that

Lt. Lameka was demanding Plaintiff provide a valid telephone number as soon as possible.

72.     On November 30, 2012, while on duty, Breimon approached Plaintiff at work and told

her he would be waiting for her at her home after work. Plaintiff subsequently arrived home to

find Breimon waiting in her driveway. In the presence of Plaintiff’s neighbors, Breimon

screamed loudly out of his truck window “you are a fucking whore” before squealing his tires

while driving out of Plaintiff’s driveway.

73.     After this incident Plaintiff again told Breimon to leave her alone completely. She told

Breimon she was afraid of him and that she was ready to obtain a Complaint Register number

and restraining order against him.

74.     On December 17, 2012, Breimon told Plaintiff that he was going to have a conversation

with coworkers in the 14th District that would impact Plaintiff’s credibility and ability to work

with her fellow officers. He stated that he would leave the midnight watch but before he did so

he would conduct a formal roll call and disparage Plaintiff before all her fellow officers in an

attempt to wreck her career.

75.     In January of 2013, Breimon transferred to the day shift after his return from furlough.




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76.      In early 2013, Plaintiff was assigned to work with a male partner, P.O. Noel Ariezaga.

Officer Ariezaga got into the squad car and told Plaintiff that he wasn’t “going to do shit” if he

was assigned to work with her. Officer Ariezaga then took out a pillow and leaned his head back

as if to sleep.

77.     Plaintiff reported this incident first to Sgt. Vale and then to Lt. Lameka. Lt. Lameka told

Plaintiff she spoke with Officer Ariezaga about the incident and that Officer Ariezaga told Lt.

Lameka that he was afraid he would get hurt working with Plaintiff because she was a female

and was petite.

78.     Lt. Lameka then told Plaintiff that she would have to continue to work with P.O.

Ariezaga or that Plaintiff would have to take compensatory time off. Plaintiff told Lt. Lameka

that all she wanted was to be treated equally by her coworkers.

79.     No disciplinary action was taken against Officer Ariezaga as a result of Plaintiff’s

complaint.

80.     Subsequently, other officers assigned to work with Plaintiff complained to district

personnel. Unlike Plaintiff, the officers were not ordered to work with Plaintiff, nor were they

told to take compensatory time, but were in fact switched to work with officers other than

Plaintiff.

81.     On March 7, 2013, Plaintiff was assigned to work by herself on Beat 1432R. Plaintiff

attended roll call and afterwards Lt. Sarah McDermott approached Plaintiff, pointed a finger in

Plaintiff’s face and stated in a hostile tone “Oh, and Hespe, I’m working with you tonight!”

Plaintiff said “okay” and went to retrieve her police bag from the locker room.

82.     While in the locker room, Plaintiff heard her name being announced over the station

intercom. The announcement requested “Officer Hespe come to the watch commander’s office.”


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83.     Plaintiff went immediately to the watch commander’s office and found Lt. Lameka and

Defendant Lieutenant McDermott inside the office. Lt. Lameka asked Plaintiff where she had

disappeared to and stated “this is no joke. You will be working with Lt. McDermott tonight.”

84.     Lt. McDermott then ordered Plaintiff to go outside and see if Plaintiff’s assigned squad

car had a working camera in it. Plaintiff verified that the assigned squad car had a non-operable

camera with a service ticket on it. When Plaintiff informed Lt. McDermott of this fact, she told

Plaintiff that they would both ride in that car with Sergeant Margolis for the evening.

85.     Lt. McDermott informed Plaintiff that Plaintiff would be driving the car. Plaintiff sat in

the driver’s seat, Lt. McDermott sat in the passenger seat and Sgt. Margolis sat in the rear seat.

86.     Immediately upon leaving the station, Lt. McDermott began to interrogate Plaintiff as she

drove. Lt. McDermott asked Plaintiff if she even knew where 1432’s beat began and if she knew

how to drive there. Lt. McDermott repeatedly asked Plaintiff if she could identify where she was

at and where she was driving to.

87.     As Plaintiff drove, Lt. McDermott continued to interrogate Plaintiff about her location

and the surrounding geography, ordering Plaintiff to name every numbered street from the south

end of the 14th district to the north end of the district.

88.     Lt. McDermott told Plaintiff that if she answered any questions wrong then she would hit

Plaintiff in the head with her baton.

89.     From that point on, if Plaintiff answered a question incorrectly, Lt. McDermott looked

directly at Plaintiff and beat the baton into her hands. This caused Plaintiff to fear that she was

going to be struck in the head by Lt. McDermott.

90.     Later in the evening, Plaintiff was ordered to write tickets and arrange for a tow of an

abandoned van. As Plaintiff wrote the tickets and attempted to complete the tow report, Lt.


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McDermott began to time Plaintiff’s actions out load, counting the minutes it took Plaintiff to

complete the tasks, stating for example that Plaintiff has used up 7 minutes so far, 9 minutes so

far, etc.

91.     Plaintiff completed writing the tickets at which point she was asked if her previous

inspection of the van was thorough enough. Lt. McDermott informed Plaintiff there might be a

dead body in the rear of the van because Sgt. Margolis had reported seeing a red blanket in the

back of the van. Plaintiff exited the squad can and re-inspected the van, at which point Lt.

McDermott and Sgt. Margolis both began laughing at Plaintiff.

92.     Plaintiff was threatened with bodily harm and intimidated and harassed by Lt.

McDermott for approximately four hours from 2300 hours until being ordered to return to the

14th district around 0300 hours. During that course of time, Sgt. Margolis observed Lt.

McDermott’s threats and conduct but did not intervene in any manner.

93.     On the next day, March 8, 2013, Plaintiff contacted her union, the Fraternal Order of

Police, and the Independent Police Review Authority (“IPRA”) to file a complaint for the

previous night’s incidents with Lt. McDermott and Sgt. Margolis.

94.     IPRA informed Plaintiff that because her allegations of police misconduct involved a

Lieutenant, a Sergeant or higher in rank would have to call in the complaint on her behalf.

95.     Plaintiff proceeded to the 16th police district and filed a complaint with Lt. Lewison, star

#312. Lt. Lewison logged Plaintiff’s complaint and she was provided complaint register

#1060606 at 1905 hours.

96.     To date, Plaintiff has not been advised what action was taken on this complaint.




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97.        On March 9th, 2013, Plaintiff was scheduled to work with P.O. Michelle Perez. Plaintiff

attended roll call but after roll call Plaintiff was notified that per the commander she would have

to ride with P.O. Perez and Sgt. Santangelo for her entire tour.

98.        Plaintiff asked Sgt. Santangelo and Sgt. Fox, the acting District Supervisor/watch

commander for the night, why this was being done to her and why this was never done to other

officers. Sgt. Fox made a vague statement that it was an order from someone of higher rank,

while Sgt. Santangelo told Plaintiff that it was an order from the commander and that Plaintiff’s

treatment was directly because of Lt. McDermott.

99.        Plaintiff believed that this shift would be a repeat of the previous evening’s shift and she

would be subjected to more physical threats and harassment. Shortly after the tour of duty

began, Plaintiff began to suffer severe chest pains and was transported from the 14th district by

ambulance to a local hospital where Plaintiff was subsequently admitted for observation and

testing.

100.       Plaintiff has been on medical leave since March 11, 2013, and has been unable to return

to work or to participate in the Master’s degree program she had been recommended for.

101.       At all times relevant to this complaint, the Defendant City was fully aware of Breimon’s

previous criminal investigation and resulting civil lawsuit from his actions in 2003.

102.       Defendant City took no steps to warn female officers or to provide supervision over Sgt.

Breimon that would prevent him from abusing his authority in relation to females he would

supervise or have contact with while working for Defendant City. As a direct result of their

omissions, the City allowed Breimon to abuse his authority and position over Plaintiff.




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103.   At all times relevant to this complaint, Breimon’s on duty harassment of Plaintiff was

done within the 14th District boundaries where other police officers observed how he treated

Plaintiff but took no action.

104.   As a direct result of Breimon abuse of supervisory authority, Plaintiff was shunned by

some co-workers and subjected to differential treatment by other officers and supervisors.

105.   Plaintiff was selected and singled out for retaliatory actions because Plaintiff opposed

Breimon’s sexually harassing and assaultive conduct.

106.   Breimon’s supervising officers, including Lieutenants Lameka and McDermott, were

aware that Breimon had “staked a claim” to Plaintiff and pursued Plaintiff’s attention both on

and off duty.

107.   Lt. McDermott’s actions towards Plaintiff were done to intimidate Plaintiff so Plaintiff

would not report Breimon’s actions.

108.   Defendant City failed to supervise its officers and allowed them to target Plaintiff for

harassment creating a hostile working environment.

109.   Upon information and belief, Defendants’ actions were conducted to make conditions so

intolerable that Plaintiff would not enter the Master’s Degree Program which would provide

Plaintiff with career advancement opportunities.

110.   Defendants’ actions have damaged Plaintiff and caused Plaintiff to incur medical

expenses, legal expenses and to suffer from severe anxiety and stress. Defendant has been

diagnosed with PTSD as a direct result of Defendants’ actions and course of conduct. Plaintiff’s

additional symptoms include anxiety attacks, chest pains, severe stress, hospitalization,

withdrawal from others, weight gain; lapses in short term memory, depression, lethargy,




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nightmares, flashbacks, fear of being home alone, and fear when seeing Chicago Police squad

cars.

                                            COUNT I
    Title VII, 42 U.S.C. § 2000(e) et seq. – Sexual Discrimination and Harassment Claim

111.      Each of the foregoing Paragraphs is incorporated as if restated fully herein.

112.      At all relevant times to Defendant Breimon’s conduct, Breimon was Plaintiff’s

supervisor.

113.      As described above, Breimon’s conduct towards Plaintiff was unwelcome and occurred

because of Plaintiff’s gender.

114.      Breimon’s conduct occurred over several years constituting a continuing course of

discrimination toward Plaintiff.

115.      Breimon committed an unlawful employment practice by treating Plaintiff differently

because of her sex and caused a change in the conditions of her employment subjecting her to a

hostile work environment.

116.      Defendants have therefore denied Plaintiff her rights under the Civil Rights Act of 1964.

117.      Plaintiff has suffered damages as a direct result of her rights being violated, and they will

be proven at trial.

                                              COUNT II
                      Title VII, 42 U.S.C. § 2000(e) et seq. – Retaliation Claim

118.      Each of the foregoing Paragraphs is incorporated as if restated fully herein.

119.      At all relevant times, Sergeant Breimon was also Plaintiff’s supervisor.

120.      Sergeant Breimon committed an unlawful employment practice by retaliating against

Plaintiff because she refused to be subjected to his continued physical, sexual and emotional

abuse.


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121.   Defendant City, through its agents, specifically Lt. Sarah McDermott violated Title VII

by treating Plaintiff differently after Plaintiff complained about differential treatment because of

her gender.

122.   Defendants’ treatment of Plaintiff changed the terms and conditions of her employment,

and created a hostile work environment.

123.   Therefore, Plaintiff was denied her rights under the Civil Rights Act of 1964.

                                          COUNT III
                            42 U.S.C. §1983 Equal Protection Claim

124.   Each of the foregoing Paragraphs is incorporated as if restated fully herein.

125.   Plaintiff is a female and is a member of a protected class.

126.   Defendant Breimon has treated Plaintiff differently than other similarly situated

individuals without any legitimate governmental purpose for doing so.

127.   Defendant Breimon’s actions with respect to Plaintiff were motivated, at least in part by a

discriminatory purpose, in violation of Plaintiff’s constitutional rights to Equal Protection under

the law and her right to bodily integrity.

128.   As a direct and proximate result of this equal protection violation, Plaintiff has suffered

damages, including emotional damages, which will be proven at trial.

                                        COUNT IV
                    42 U.S.C. § 1983 -Monell Claim versus Defendant City

129.   Each of the foregoing Paragraphs is incorporated as if restated fully herein.

130.   The misconduct described in the preceding paragraphs was undertaken pursuant to the

policy and practice of the Chicago Police Department (“CPD”) in that:




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   a.      As a matter of both policy and practice, the CPD directly encourages, and fails to

adequately discipline, supervise and control its officers, and that its failure to do so manifests

deliberate indifference;

   b.      As a matter of both policy and practice, the CPD facilitates the very type of

misconduct at issue here by failing to adequately punish and discipline prior instances of

similar misconduct. Thereby leading Chicago police officers to believe their actions will

never be scrutinized and, in that way, directly encouraging future abuses such as those

affecting Plaintiff. Specifically, Chicago police officers accused of misconduct can be

confident that the Department will not investigate those accusations in earnest and will refuse

to recommend discipline even where the officer has engaged in misconduct;

   c.      As a matter of both policy and practice, the CPD fails to properly and fully

investigate misconduct by Chicago police officers, and fails to pursue criminal charges

against them in the same manner they would against a non-police officer citizen. The

concealment and suppression of the existence of misconduct includes, but is not limited to:

failure to sufficiently investigate allegations of misconduct; failure to promptly and

accurately record witness statements or preserve evidence, failure to promptly interview the

suspected officer; failure to properly and sufficiently discipline an officer, even where the

complaint is sustained; and failure to initiate prompt disciplinary procedures related to the

alleged incident, even when the allegation is obviously true.

   d.      Municipal policy-makers are aware of, and condone and facilitate by their

inaction, a "code of silence" in the CPD, by which officers fail to report misconduct

committed by other officers, such as the misconduct at issue in this case;




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       e.      As a matter of express policy, Defendant City does not retain any records which

   are more than seven years old documenting allegations against police officers, thereby

   preventing Defendant City from ascertaining any patterns of abuse which might develop over

   the course of a police officer's career; and

       f.      Further, Defendant City fails to utilize even the records that are retained to

   identify and respond to patterns of misconduct by its officers.

131.   The above acts or omissions of Defendant City violated Plaintiff’s right to free speech

under the First Amendment to the United States Constitution and Plaintiff’s Fourteenth

Amendment to substantive Due Process liberty interests in bodily integrity.

132.   As a proximate result of the above-detailed actions or omissions of Defendants, Plaintiff

suffered damages, including physical injuries and emotional distress.

                                          COUNT V
                       Negligent Retention Claim versus Defendant City

133.   Each of the foregoing Paragraphs is incorporated as if restated fully herein.

134.   Defendant City knew or should have known that Defendant Breimon had a particular

unfitness for the position so as to create a danger of harm to third persons.

135.   The unfitness of Defendant Breimon was known or should have been known at the time

he was retained and placed in a position of authority over Plaintiff.

136.   Defendant Breimon’s unfitness proximately caused Plaintiff’s injury.

                                         COUNT VI
                     Illinois Human Rights Act versus Defendant Breimon

137.   Each of the foregoing Paragraphs is incorporated as if restated fully herein.




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138.     Defendant Breimon committed an unlawful employment practice by retaliating against

Plaintiff because she complained about his behavior and because Plaintiff refused to be further

subjected to his sexual advances.

139.     Defendant Breimon changed the terms and conditions of Plaintiff’s employment and

created a hostile work environment for Plaintiff.

140.     Plaintiff was thus denied her rights under the Illinois Human Rights Act.

141.     Plaintiff has suffered damages which will likely continue into the future as a direct result

of her rights being violated.

                                         COUNT VII
         Illinois Gender Violence Act Claim 740 ILCS 82/5 versus Defendant Breimon

142.     Each of the foregoing Paragraphs is incorporated as if restated fully herein.

143.     Defendant Breimon’s physical contact with Plaintiff from November of 2009 through

November of 2012 was insulting and offensive, done intentionally and knowingly, and without

Plaintiff’s consent or acquiescence.

144.     Defendant Breimon’s offensive and unwanted touching of Plaintiff was willful and

wanton, and constitutes an act of physical aggression satisfying the elements of battery under

Illinois law.

145.     As described more fully above, Defendant Breimon’s conduct constituted an act of

physical intrusion of a sexual nature under coercive conditions.

146.     Defendant Breimon’s conduct was committed at least in part, on account of Plaintiff’s

sex.

147.     Defendants’ actions have damaged Plaintiff and caused Plaintiff to incur medical

expenses, legal expenses and to suffer from severe anxiety and stress.



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                                           COUNT VIII
                   Illinois Intentional Infliction of Emotional Distress Claim
                                    versus Defendant Breimon

148.    Each of the foregoing Paragraphs is incorporated as if restated fully herein.

149.    As described more fully above, Defendant Breimon’s intentional, willful and wanton

misconduct towards Plaintiff was extreme and outrageous.

150.    As a proximate result of Defendant Breimon’s intentional, willful and wanton conduct,

Plaintiff has suffered great humiliation and severe emotional distress.

                                         COUNT IX
                          Assault Claim versus Defendant McDermott

151.    Each of the foregoing Paragraphs is incorporated as if restated fully herein.

152.    Defendant McDermott’s threats to strike Plaintiff in the head with a baton constituted

assault as they placed Plaintiff in reasonable apprehension that she would be subjected to bodily

harm.

153.    Defendant McDermott’s assault upon Plaintiff was willful and wanton. Additionally,

Defendant McDermott’s actions were insulting and offensive, done intentionally and knowingly,

and without Plaintiff’s consent or acquiescence.

154.    As a proximate result of Defendant McDermott’s assault, Plaintiff has suffered

humiliation, embarrassment, anxiety and other emotional damages which will be proven at trial.

                                            COUNT X
                       Intentional Infliction of Emotional Distress Claim
                                 versus Defendant McDermott

155.    Each of the foregoing Paragraphs is incorporated as if restated fully herein.

156.    As more fully described above, Defendant McDermott’s intentional, willful and wanton

misconduct towards Plaintiff was extreme and outrageous.



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157.    As a proximate result of Defendant McDermott’s intentional, willful and wanton conduct,

Plaintiff has suffered great humiliation and severe emotional distress.

                                 COUNT XI -- State Law Claim
                                    Respondeat Superior

158.    Each of the foregoing Paragraphs is incorporated as if restated fully herein.

159.    In committing the acts alleged in the preceding paragraphs, the Defendant Officers were

members of, and agents of, the Chicago Police Department acting at all relevant times within the

scope of their employment.

160.    Defendant City is liable as principal for all torts committed by its agents.

                                 COUNT XII -- State Law Claim
                                      Indemnification

161.    Each of the foregoing Paragraphs is incorporated as if restated fully herein.

162.    Illinois law provides that public entities are directed to pay any tort judgment for

compensatory damages for which employees are liable within the scope of their employment

activities.

163.    The Defendant Officers were employees of the Chicago Police Department, who acted

within the scope of their employment in committing the misconduct described herein.

        WHEREFORE, Plaintiff, KELLY HESPE, respectfully requests that this Court enter

judgment in her favor and against Defendants, CITY OF CHICAGO, CHICAGO POLICE

SERGEANT GERALD BREIMON, and CHICAGO POLICE LIEUTENANT SARAH

MCDERMOTT, awarding compensatory damages, courts costs, and attorneys’ fees, as well as

punitive damages against the Defendant Officers in their individual capacities, and any other

relief this Court deems just and appropriate.

    PLAINTIFF DEMANDS TRIAL BY JURY.


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Respectfully submitted,

Dated: November 7, 2013


                                                    _/s/Daniel Q. Herbert______
                                                    Daniel Q. Herbert
                                                    Plaintiffs’ Attorney


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